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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                   GAINESVILLE DIVISION

             UNITED STATES OF AMERICA,

                   v.                                  : CRIMINAL ACTION NO.
                                                       : 2:16-CR-10-1-RWS-JCF
             HORACE MAYFIELD,

                   Defendant.

                                                 ORDER

                   This matter is before the Court on the Report and Recommendation of

             Magistrate Judge J. Clay Fuller [Doc. No. 314]. No objections have been filed

             thereto. Having carefully reviewed the record and the Report and Recommendation,

             the Report and Recommendation [Doc. No. 3 I 4] is hereby approved and adopted as

             the opinion and order of this Court. As such, Defendant's Motion to Suppress [Doc.

             No. I 00] is DENIED.

                   so ORDERED this. /.IL'11'-day of July, 2018.


                                                   United States District Jud




AO 72A
(Rev.8/82)
